Case 2:17-cv-02173-JPM-tmp Document 26 Filed 06/26/17 Page 1 of 1                          PageID 96



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

RAY CAPLINGER,

   Plaintiff,

-vs-                                                CASE NO.: 2:17-CV-02173-JPM-TMP

ALLY FINANCIAL, INC. and
AMERICAN SUZUKI FINANCIAL
SERVICES
COMPANY, LLC.,

   Defendant.
                                       /

                            NOTICE OF PENDING SETTLEMENT

       Plaintiff, RAY CAPLINGER, by and through her undersigned counsel, hereby notifies

the Court that the parties, Plaintiff, RAY CAPLINGER, and Defendants, ALLY FINANCIAL,

INC. and AMERICAN SUZUKI FINANCIAL SERVICES COMPANY, LLC., have reached a

settlement with regard to this case, and are presently drafting, and finalizing the settlement

agreement, and general release documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

furnished via electronic filing on this 26th day of June, 2017 to all parties of record.

                                               /s/ Shaughn C. Hill, Esquire
                                                Shaughn C. Hill, Esquire
                                                Morgan & Morgan, Tampa, P.A.
                                                One Tampa City Center
                                                Tampa, FL 33602
                                                Tele: (813) 223-5505
                                                Fax: (813) 223-5402
                                                shill@forthepeople.com
                                                Florida Bar #: 0105998
                                                Attorney for Plaintiff
